               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 19-3


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )            ORDER
                                            )
TAMRA CHRISTINE COX,                        )
                                            )
                 Defendant.                 )
____________________________________        )


       THIS CAUSE coming on to be heard and being heard before the

undersigned upon a Violation Report (#86) filed in the above entitled cause on

June 21, 2013 by the United States Probation Office. In the Violation Report, the

United States Probation Office alleges that the Defendant had violated terms and

conditions of her presentence release. At the call of this matter on for hearing it

appeared the Defendant was present with her counsel, Jack Stewart, and the

Government was present through Assistant United States Attorney, Don Gast.

From the evidence offered and from the statements of the Assistant United States

Attorney and the attorney for the Defendant, and the records in this cause, the

Court makes the following findings.

       Findings:   At the call of the matter, the Defendant, by and through her

attorney, admitted the allegations contained in the Violation Report.             The

Government introduced, without objection, the Violation Report into evidence.



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      The Defendant was charged in a bill of indictment filed on March 21, 2012

with conspiracy to make and utter counterfeit obligations, in violation of 18 U.S.C.

§ 371, and uttering counterfeit obligations in violation of 18 U.S.C. § 472. A

hearing was held in regard to the detention of Defendant on March 29, 2012. On

that date, the undersigned entered an Order releasing Defendant on a $25,000

unsecured bond. The undersigned further sets conditions of release which included

the following:

      (1)   That the defendant shall not commit any offense in violation of

            federal, state or local law while on release in this case.

      (8)(o) Defendant shall refrain from any use of alcohol.

      (8)(u) Report as soon as possible, to the pretrial services office or

            supervising officer any contact with any law enforcement personnel,

            including, but not limited to, any arrest, questioning, or traffic stop.

      On June 11, 2012, Defendant entered a plea of guilty to the crime of

conspiracy to make and utter counterfeit obligations as contained in count one of

the bill of indictment. Thereafter on September 16, 2012 and September 17, 2012,

Defendant was charged with driving while license revoked in Buncombe County,

NC and Defendant failed to notify the U.S. Probation Office that she had been

charged with those two offenses. On June 18, 2013, Defendant was arrested and


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charged with driving while impaired.           After being arrested, Defendant was

administered a test for use of alcohol and it showed she had an alcohol content of

.13. On June 21, 2013, Defendant admitted she had consumed alcohol on June 18,

2013. On June 18, 2013, Defendant was also charged with driving while license

revoked.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial

officer -----

       (1)    finds that there is----
              (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
              (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2) finds that ---
              (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that
       the person will not flee or pose a danger to the safety of any other person or
       the community; or
              (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”

       Based upon the evidence, the undersigned finds there is probable cause to

believe Defendant committed a state crime while on release, that being the offenses


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of driving while license revoked on September 16, 2012, September 17, 2012 and

June 18, 2013.     Additionally, there is probable cause to believe Defendant

committed the state crime of driving while impaired on June 18, 2013.

      There has been shown by clear and convincing evidence that Defendant

violated the condition of release which required that she not consume alcohol and

Defendant admitted on June 21, 2013 that she had consumed alcohol on June 18,

2013. There has been shown by clear and convincing evidence that Defendant

violated the condition of release which requires that she report any contact with

any law enforcement personnel in that she failed to notify the U.S. Probation

Office she had been charged with driving while license revoked in Buncombe

County, NC on September 16, 2012 and September 17, 2012.

      Due to the findings made above, it appears there is no condition or

combination of conditions of release that would assure that Defendant will not

pose a danger to the safety of any other person or the community. It is the opinion

of the undersigned that based upon Defendant’s actions, it is unlikely Defendant

will abide by any condition or combination of conditions of release. As a result of

the above referenced findings, the undersigned has determined to enter an order of

revocation revoking the unsecured bond and the terms and conditions of pretrial

release previously issued in this matter and entering an order detaining Defendant.


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                                    ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED Defendant be detained pending sentencing and further proceedings in

this matter.

                                            Signed: July 9, 2013




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